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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DIANA UNRUH,                                   §
                                               §
        Plaintiff,                             §
                                               §      CIVIL ACTION NO. 4:16-cv-3600
v.                                             §
                                               §      JURY
ALLSTATE TEXAS LLOYD’S,                        §
                                               §
        Defendant.                             §

                                NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

        The Parties wish to announce they reached an agreement of settlement in this matter. The

Parties anticipate they will have the settlement finalized within 60 days from today, upon which

time Plaintiff and Defendant will file the appropriate dismissal documents with the Court.

Accordingly, the parties ask the action, including any upcoming deadlines, be abated.



                                            Respectfully submitted,

                                            THOMPSON, COE, COUSINS & IRONS, L.L.P.

                                              /s/ Jay Scott Simon
                                            Jay Scott Simon
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                                            ALLSTATE TEXAS LLOYD’S




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                                CERTIFICATE OF SERVICE

              This is to certify that on the 25th day of May, 2017, a true and correct copy of the
foregoing has been forwarded to counsel of record in accordance with the Federal Rules of Civil
Procedure:

        Jesse S. Corona
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                                                  /s/ Jay Scott Simon
                                                Jay Scott Simon




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